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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASEE DIVISION

  UNITED STATES OF AMERICA,

  v.                                       4:18-CR-76 (RH)

  JOHN THOMAS BURNETTE,

                Defendant.



                     DEFENDANT’S MOTION FOR
                 CONTINUED RELEASE PENDING APPEAL

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                                 INTRODUCTION

      Defendant John Thomas Burnette respectfully moves this Court to grant

continued release pending appeal pursuant to 18 U.S.C. § 3143(b)(1) and Federal

Rule of Criminal Procedure 38(b). Burnette will advance at least two substantial

issues on appeal: First, the jury instructions allowed the jury to convict Burnette

without proving that Maddox had agreed to take official action on specific, identified

matters, in violation of McDonnell v. United States, 136 S. Ct. 2355 (2016) and

United States v. Roberson, 998 F.3d 1237 (11th Cir. 2021). Second, Agent Sweet

was improperly permitted to opine that exculpatory, out-of-court statements by

Burnette were “false exculpatory statements,” including based on his supposed

knowledge of the entire investigation. The jury instructions and the admission of

Sweet’s testimony conflict with Supreme Court and Eleventh Circuit precedents, and

Burnette’s appeal will therefore present substantial questions.        Because those

questions go to the heart of the government’s case and Burnette’s defense, it is likely

that, if either question is resolved in Burnette’s favor, a new trial will be required.

Even if the false statements count survives, it is unlikely that Burnette’s sentence on

that count alone would exceed the length of this complex criminal appeal. Under

these circumstances, this Court should allow Burnette to remain released pending

the Eleventh Circuit’s disposition of his appeal.




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                                    ARGUMENT

      The Court “shall order the release” pending appeal of a defendant sentenced

to imprisonment if he shows that: (1) he is not a flight risk or danger to the

community; (2) the appeal is not for purpose of delay; (3) the appeal “raises a

substantial question of law or fact;” and (4) if that substantial question is decided in

his favor, the decision will likely result in reversal, a new trial, or a term of

imprisonment shorter than the expected length of the appeal. United States v.

Giancola, 754 F.2d 898, 899, 901 (11th Cir. 1985) (per curiam); see also 18 U.S.C.

§ 3143(b)(1)(B)(iii)-(iv). To raise a substantial question of law or fact, a defendant

need not show that he will likely prevail in the appeal. Rather, it suffices to show “a

‘close’ question or one that very well could be decided the other way.” Giancola,

754 F.2d at 901.

      Burnette meets and exceeds the standard for release pending appeal. Burnette

is not a flight risk or danger to the community. His appeal is not for purposes of

delay. And his appeal will present multiple issues that meet the substantial-question

requirement and that, if decided in his favor, are likely to lead to a new trial or a

reduced sentence shorter than the length of his appeal.

I.    Burnette Is Not Likely To Flee or Pose a Danger to Safety If Released.

      Burnette is neither a flight risk nor a danger to the community. He was

released on his own recognizance and without bond on the day of arraignment, ECF

68, and since then, he has appeared at every court hearing and trial date and complied

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with all conditions of release. As demonstrated at the sentencing hearing, Burnette

has strong familial, social, and economic ties to Tallahassee. The Court determined

at sentencing that he should be permitted to self-surrender, and the government did

not object. The offense conduct in this case was non-violent, and Burnette has no

prior criminal history of any kind. ECF 506 ¶¶ 91-97.

II.    The Appeal Raises Substantial Questions Likely To Result in a New Trial
       or Sentence Shorter than the Length of the Appellate Process.

       Burnette will raise at least two “substantial” or “close” questions on appeal.

Giancola, 754 F.2d at 901. Each, if resolved in Burnette’s favor, will likely result

in a new trial or sentence shorter than the expected length of the appellate process.

       A.    The Jury Instructions Conflicted with Binding Precedent and
             Require a New Trial on Four Counts.

       In at least two material respects, the jury instructions conflicted with the

Supreme Court’s seminal decision in McDonnell v. United States, 136 S. Ct. 2355

(2016), and the Eleventh Circuit’s related precedent. In McDonnell, the Court

considered “the proper interpretation of the term ‘official act’” in the federal bribery

statute. 136 S. Ct. at 2367. The statute defines an official act as “any decision or

action on any question, matter, cause, suit, proceeding or controversy, which may at

any time be pending, or which may by law be brought before any public official, in

such official’s official capacity.” 18 U.S.C. § 201(a)(3). Although McDonnell

focused on the language of the bribery statute, the charges at issue in that case

included Hobbs Act color-of-official-right extortion under 18 U.S.C. § 1951 and
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honest services wire fraud under 18 U.S.C. §§ 1343 & 1346. 136 S. Ct. at 2365.

Because those charges both proscribe bribery, they incorporate the definitions and

limits of the federal bribery statutes. See Skilling v. United States, 561 U.S. 358,

412-13 (2010).

      In this case, the government agreed that four of the five counts on which

Burnette was convicted—the extortion, mail fraud, and Travel Act counts—were

subject to McDonnell’s interpretation of official act. McDonnell applies directly to

the Hobbs Act and honest services fraud charges, since this case involves essentially

the same charges at issue in McDonnell—although this case charges honest services

fraud under the mail fraud rather than wire fraud statute. See also United States v.

Mayweather, 991 F.3d 1163, 1185 (2021) (applying McDonnell to Hobbs Act color-

of-official-right extortion); Eleventh Circuit Pattern Jury Instructions (Criminal)

Nos. O50.2, O70.2 (2020) (incorporating McDonnell standard to Hobbs Act

extortion under color of official right and mail fraud honest services fraud pattern

instructions). As for the Travel Act charge, the government’s theory was that

Burnette violated the statute by using a facility of interstate commerce to commit

bribery under Florida state law. However, the government specifically conceded

that there is no relevant difference between federal and state law on this point, and

expressly declined to request a separate instruction on state-law bribery. Trial Day

12 Tr. 2457 (July 28, 2021) (Ex. R). With the government’s agreement, this Court

instructed the jury on only the McDonnell standard for bribery.
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      As particularly relevant here, McDonnell rejected the government’s broad

reading of “official act,” enunciating several clear limits intended to cabin the

official acts that can underlie a bribery or extortion conviction, and avoid vagueness,

due process, and federalism concerns. 136 S. Ct. at 2372-73. The jury instructions

in this case breached those limits, individually and cumulatively encouraging the

jury to convict Burnette on the type of nebulous theory of bribery rejected in

McDonnell. The court of appeals is likely to find the instructions plainly erroneous

and to vacate the judgment and order a new trial. At a minimum, the plain

instructional errors raise a substantial question for appeal, warranting release

pending appeal.

             1.     Specific matter
      First, this Court plainly erred in instructing the jury that it could convict

Burnette even if it found that Maddox had promised to perform an official act “on

any not-yet-known matter that might later come up for a vote.” ECF 433, at 7-8

(emphasis added).

      This instruction directly conflicts with McDonnell, which held that the public

official must promise to perform an official act on a matter that is “specific and

focused.”    136 S. Ct. at 2372.        The Eleventh Circuit’s Pattern Instructions

incorporate that requirement. See Pattern Jury Instruction O70.2 (“[A public official

must promise to take an official action on] something specific which requires

particular attention by a public official.”).
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      As the Second Circuit has held, McDonnell requires that the “particular

question or matter” on which the official will act “be identified at the time the official

makes a promise or accepts a payment.” United States v. Silver, 948 F.3d 538, 558

(2d Cir. 2020) (emphasis altered) (reversing conviction in part). “McDonnell thus

stands for the proposition that bribery requires that an official accept a payment,

knowing that he is expected to use his office to influence a ‘focused,’ ‘concrete,’ and

‘specific’ question or matter . . . .” Id. at 557 (quoting McDonnell, 136 S. Ct. at

2369-70, 2372); id. at 558 (“an official must promise to influence a particular

question or matter”). “[A]n open-ended promise to perform official actions ‘for the

benefit of the payor’” does not suffice. Id. at 559.

      The Eleventh Circuit recently concurred with that reading of McDonnell in

United States v. Roberson, 998 F.3d 1237 (11th Cir. 2021), observing that

“McDonnell specified that the ‘question or matter’ to be influenced must be

identified.” Id. at 1251 (citing McDonnell, 136 S. Ct. at 2369-70). Critically, the

government conceded the point in its post-trial opposition to Burnette’s motion for

judgment of acquittal. ECF 497-1, at 29-30 (“As the Eleventh Circuit has explained,

although McDonnell specified that the ‘question or matter’ to be influenced must be

identified, that case did not reject the retainer theory of bribery.” (citing McDonnell,

Roberson, and Silver) (internal quotation marks omitted)).




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      At the government’s urging, however, the Court adopted an instruction at odds

with McDonnell, Silver, Roberson, the Pattern Jury Instruction, and the

government’s current view:


 Pattern Jury Instruction O70.2                Jury Instruction in This Case
 [A public official must promise to take       To count as a matter that might later
 an official action on] something              come before the governmental entity, a
 specific which requires particular            matter need not be identified at the
 attention by a public official.               time of the payment; it is sufficient if
                                               the payment is made in exchange for
                                               favorable treatment on any not-yet-
                                               known matter that might later come
                                               up for a vote.

The government’s opposition to Burnette’s post-trial acquittal motion concedes that

the instruction is erroneous. Indeed, in light of McDonnell and Roberson the

instruction is plainly erroneous. Burnette therefore raises a substantial issue for

appeal.

             2.     Defining “matter”
      The jury instructions were also plainly erroneous in watering down

McDonnell’s definition of a “matter.” The Supreme Court conducted a lengthy

analysis of the term in McDonnell, noting that the statute refers to official action on

a “question, matter, cause, suit, proceeding, or controversy.” 136 S. Ct. at 2368

(quoting 18 U.S.C. § 201(a)(3)). The Court explained that these terms “connote a

formal exercise of governmental power, such as a lawsuit, hearing, or administrative
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determination.” Id. The Court rejected the government’s view that an agreement to

take action on “workaday functions, such as the typical call, meeting, or event,”

could constitute federal bribery. Id. The Court vacated the conviction because “the

instructions did not adequately explain to the jury how to identify the ‘question,

matter, cause, suit, proceeding or controversy.’” Id. at 2374.

      The Eleventh Circuit has elaborated upon McDonnell’s guidance, holding that

jury instructions defining “matter” must include McDonnell’s “critical” analogy to

“a lawsuit, hearing, or administrative determination,” otherwise they fail to convey

the weight and seriousness of the matter on which the official must promise to act.

United States v. Van Buren, 940 F.3d 1192, 1203 (11th Cir. 2019), rev’d in part on

other grounds, 141 S. Ct. 1648 (2021). The Pattern Jury Instruction reflects that

language. Eleventh Circuit Pattern Jury Instructions (Criminal) No. O70.2 (2020).

In Van Buren, the Eleventh Circuit reversed a conviction for honest services fraud

where the instructions “omitted” McDonnell’s analogy and thus “unravel[ed]

statutory limitations that the Supreme Court identified concerning the meaning of

‘official act.’” 940 F.2d at 1203.

      In a later case, the Eleventh Circuit clarified that jury instructions do not

always need to include the precise language of the McDonnell analogy if it does not

fit the facts of the case, so long as the instructions otherwise provide “guidance to

the jury by defining the alleged ‘official act’ at issue in each Hobbs Act extortion

case.” Mayweather, 991 F.3d at 1184-86. That includes ensuring that the jury
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understands that the public official must act on a matter “of the same gravity as a

lawsuit, hearing, or administrative determination.” See id. at 1186 (quoting Van

Buren, 940 F.3d at 1204). Where the instructions fail to provide that critical

guidance, error has occurred. See id. (vacating convictions and remanding to the

district court to write an instruction “that fits the facts of this case”).

       Burnette requested the pattern instruction containing the “critical” McDonnell

analogy. ECF 283, at 1 n.1. This Court did not give it. Trial Day 12 Tr. 2450 (July

28, 2021) (Ex. R). Instead of instructing the jury that it must find that Maddox

agreed to act “on a question, matter, cause, suit, proceeding, or controversy . . .

similar in nature to a lawsuit before a court, a determination before an agency, or a

hearing before a committee,” as the Pattern Jury Instruction and Van Buren instruct,

the Court simplified the definition to a “matter.” ECF 433, at 7-8.

       The failure to define “matter” is particularly problematic in light of the jury

instruction on the third, influencing-other-public-officials theory of an official act.

The Court attempted to write instructions tailored to the facts of the case, but the

instruction on this third theory left the jury in the same position as the McDonnell,

Van Buren, and Mayweather juries. The Court instructed the jury that a public

official can commit an official act by “pressuring or advising another official,

including another commissioner or a staff member, on the same kind of matter . . . .

if Mr. Maddox knew or intended that the commissioner or staff member would take

formal action on that advice on a matter that could come before the local
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governmental entity.” ECF 433, at 8 (emphases added). That instruction gave the

jury no standard for determining what constitutes a “matter” that could come before

a staff member. Just as in McDonnell, lacking guidance as to what constitutes a

“matter,” the jury could have concluded that “a typical meeting, call, or event”—for

example, agreeing to meet with Southern Pines—was itself a “matter” on which a

staff member might take “formal action.” McDonnell, 136 S. Ct. at 2374.

             3.     It is reasonably probable that these errors affected the trial’s
                    outcome, and they impugn the fairness of the proceedings.
      Because Burnette did not object to these plainly erroneous instructions, he will

have the burden of showing that the errors “affected [his] substantial rights” by

influencing “the outcome of the district court proceedings.”         United States v.

Madden, 733 F.3d 1314, 1323 (11th Cir. 2013) (quoting United States v. Olano, 507

U.S. 725, 734 (1993)). For the reasons set forth below, they undoubtedly did; at a

minimum, the question is “substantial” or “close,” warranting release pending

appeal. Giancola, 754 F.2d at 900-01 (emphasis added).

      The instructional errors substantially prejudiced Burnette. Under McDonnell

and Roberson, the Court should have instructed the jury that it could only convict

Burnette if Maddox agreed to perform official acts as to a specific, identified matter.

Instead, the Court instructed the jury that the matter “need not be identified at the

time of payment.” ECF 433, at 8. On this record, it is probable that the jury

convicted Burnette not for participating in a scheme to bribe Maddox for official

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acts on a specific project, but for an unidentified, future project. This is exactly what

McDonnell and Roberson forbid.

      No evidence establishes that Maddox, Burnette, and the agents reached an

agreement to pay Maddox for official acts on a specific matter.1 In the alternative,

and without conceding the sufficiency of the evidence, the government’s evidence

that Maddox agreed to perform official acts on specific matters was extraordinarily

weak—an unsurprising fact given that the agents were not actually pursuing any

specific matters. In a phone call on October 24, 2016, shortly before the agents

began sending Carter-Smith’s lobbying firm the critical payments, Burnette

expressed concern about the agents paying without knowing what matter they

intended to pursue, saying, “I guess the big question I got is, I mean, I assume you

guys are fairly certain you’re going to do a deal in Tallahassee.” Gov. Ex. 40 (Ex.

G), at 3. Miller responded “we’re gonna get something,” and suggested budgeting

the payments as “a monthly expense.” Id. Burnette responded, “I just hate to see

you guys spend money and not know exactly what you’re doing,” but said their

approach could make sense “[a]s long as you know you’re going to do a deal in

Tallahassee.” Id. In case there was any doubt as to the import of this exchange, the

government asked Miller at trial to explain Burnette’s “hesitancy” in this

1
  Burnette reserves the right to argue on appeal that this Court erred in denying
acquittal on this ground. See McDonnell, 136 S. Ct. at 2375 (instructing court of
appeals to grant acquittal if the evidence was insufficient to prove an “official” act
as clarified in McDonnell).
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conversation. Miller explained, “He wanted us to wait until we knew specifically

which project we were going to do before we started making payments. . . .” Trial

Day 7 Tr. 1249 (July 21, 2021) (Ex. N). A properly instructed jury would have

understood this discussion of payments for a “not-yet-known matter” as exculpatory,

but instead the instructions required the jury to view the conversation as evidence of

guilt.

         So too several days later. In a conversation on October 29, 2016, Sweet

confirmed that the contemplated payments were not for specific matters. See Gov.

Ex. 44 (Ex. H), at 3. Burnette said: “This is definitely a pre-emptive approach

you’re taking.” Sweet responded: “Absolutely.” Id. Sweet later confirmed that he

wanted to pay Maddox to “[w]in the community” so he would be “there” when they

had an “ask.” Id. That is not bribery under McDonnell. See supra p. 5-6.

         Even as the sting operation progressed, no evidence proved that Maddox took

payments in exchange for official acts on a specific, identified matter. To the extent

the agents discussed particular real estate projects with Burnette or Maddox, those

projects did not require Maddox’s help.        For example, the agents discussed

developing a property in Fallschase, and specifically getting Tallahassee to annex

the land. But when the agents brought up getting Maddox’s help for annexation,

Burnette told them not “to get ahead of yourself.” Def. Ex. 230 (Ex. C), at 10. He

explained that “[t]hat’s a done deal” and “a checkbox,” so they were “not going to

have an issue there” and would not need Maddox’s assistance. Id. at 10-11; see also
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Def. Ex. 226 (Ex. A), at 3 (Burnette describing annexation as “done”); Def. Ex. 228

(Ex. B), at 3 (describing annexation as “a no-brainer” and “a done deal”).

      So too with the other project the agents discussed with Burnette: Cascades

Park. Burnette was “on the fence” about pursuing that project, Def. Ex. 852 (Ex. F),

at 2, and preferred to wait another twelve months for a nearby development to

happen first, Def. Ex. 350 (Ex. D), at 7; Def. Ex. 230 (Ex. C), at 33, 35-36. And

when the agents asked Maddox if he could delay (“throttle”) the city’s request for

proposal for the property, he responded “that’s a natural thing” that would “happen

anyway” because the city didn’t have the capacity to handle two requests at the same

time. Gov. Ex. 50 (Ex. I), at 24. No evidence established that Maddox took

payments in exchange for official acts on the Cascades Park project. Even late in

the supposed scheme, the agents were interpreting the payments as paying Maddox

to “make sure that we have enough votes to do whatever it is we are asking him to

do.” Trial Day 9 Tr. 1685 (July 23, 2021) (Ex. P) (emphasis added).

      Given the absence of evidence tying the supposed bribes to any specific

matter, it is unsurprising that the government asked for an instruction that the jury

could convict if Maddox agreed to be on “retainer” “as opportunities arise,” even if

the payments were not “tie[d] . . . to specific acts.” Trial Day 11 Tr. 2398 (July 27,

2021) (Ex. Q). The prosecutors suggested that they needed broad language “to give

us room to make the arguments we need to make.” Id. at 2399. The Court drafted

the erroneous “as-yet-unknown” language in response. Trial Day 12 Tr. 2438 (July
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28, 2021) (Ex. R). In closing, the prosecution described the agreement as “Maddox

would be there for them, whatever they need,” to “clear roadblocks” and “take

whatever official acts were needed.” Trial Day 15 Tr. 3096-97 (Aug. 11, 2021) (Ex.

T). At a minimum, a substantial question exists as to whether a properly instructed

jury would have found Burnette guilty beyond a reasonable doubt on this record if

it had to conclude that Maddox had agreed to act on specific, identified matters.

      The government also leaned into the pressuring-other-officials theory of

liability. The instructions told the jury that it could convict Burnette if Maddox

agreed to persuade a city staff member to take “formal action” on any “matter”—a

formulation with a “standardless sweep” that risks running aground on the

“vagueness shoal” the McDonnell Court sought to avoid. 136 S. Ct. at 2373

(citations omitted). The government repeatedly argued this theory to the jury in

closing, highlighting Maddox’s “influence” on city manager Rick Fernandez, Trial

Day 15 Tr. 3081-82, 3095, 3097, 3109 (Aug. 11, 2021) (Ex. T)—without proving

that any of the (mostly unspecified) actions that Fernandez might take “involved a

formal exercise of governmental power that is similar in nature to a lawsuit before a

court, a determination before an agency, or a hearing before a committee.”

McDonnell, 136 S. Ct. at 2372.

      The likelihood that the jury convicted Burnette on a bribery theory foreclosed

by McDonnell raises a substantial question as to “the fairness, integrity or public

reputation of judicial proceedings.” Madden, 733 F.3d at 1320 (citation omitted).
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As the Supreme Court explained, the government’s “expansive interpretation” of

actionable bribery raises “significant constitutional concerns” related to vagueness,

due process, arbitrariness, and federalism. McDonnell, 136 S. Ct. at 2372-73. The

Court’s limitations on actionable bribery protect permissible “interactions between

state officials and their constituents.” Id. at 2373. That concern is particularly stark

here, where Sweet, the undercover FBI agent and the government’s key witness,

testified that he believed giving campaign contributions and personal gifts, or

contributing to a politician’s relative’s charitable cause, was a way of “building

collateral” for future “horse trad[ing]” and is “improper,” Trial Day 9 Tr. 1828-29

(July 23, 2021) (Ex. P)—directly at odds with McDonnell. The undercover agents

pursued an invalid theory of what counts as criminal bribery; allowing Burnette’s

convictions to stand when the jury was instructed on a plainly overbroad theory of

bribery justifies exercising plain error review.

      The defective jury instructions require acquittal or retrial on four of the five

counts against Burnette. See supra p. 3-4. The sole remaining false statements count

would result in a sentence shorter than the expected length of Burnette’s appeal. The

false statements conviction would yield an offense level of eight (inclusive of the

two-level obstruction enhancement imposed by the Court).                 See U.S.S.G.

§§ 2B1.1(a)(2), 3C1.1. With Burnette’s lack of criminal history, his Guidelines

range would be 0-6 months’ imprisonment, see id. Ch. 5, pt. A, shorter than the


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length of the average Eleventh Circuit appeal, and likely much less than the average

complex criminal appeal.

      B.     The Court’s Erroneous Admission of FBI Agent Testimony
             Opining on Burnette’s Truthfulness Requires a New Trial on All
             Counts.

      The government’s key witness repeatedly opined that Burnette’s statements

to the undercover agents that they should not bribe Maddox were “false exculpatory

statements.” The Court’s admission of this testimony, over defense objection,

violated a long line of precedent prohibiting such testimony and establishing its

prejudicial effect. This issue presents a substantial question for appeal and, if

resolved in Burnette’s favor, will likely require a new trial on all counts.

             1.     Agent Sweet repeatedly opined on Burnette’s truthfulness.
      The key issue in dispute was whether Burnette and Maddox colluded to obtain

bribes for Maddox in exchange for Maddox’s performance of official acts. See Gov.

Opp. to Motion for Judgment of Acquittal at 16, ECF 497-1 (conceding that the

“evidence must establish coordination with the public official”). The government

based its case largely on recorded conversations and other communications between

Burnette, Maddox, and the undercover agents. Those conversations, however,

contained both inculpatory and exculpatory statements and facts. As a result, at trial,

the parties confronted the jury with two different interpretations of the evidence—

and the credibility of the witnesses and their out-of-court statements was key.


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      As to the inculpatory out-of-court statements: Burnette explained that he

postured about his ability to influence the City Commission in order to “placat[e]

Brian Butler and Mike Sweets,” two of the undercover agents. Trial Day 13 Tr.

2549-2550 (Aug. 9, 2021) (Ex. S). He described what he believed to be an implicit

understanding with Agent Miller that he “said what [Miller] wanted [him] to say” in

order to convince the agents of the viability of proposed development projects. Id.

at 2553.

      As to the exculpatory out-of-court statements: Throughout Burnette’s year-

and-a-half-long relationship with the undercover agents, including at the January 9,

2017 meeting in Dallas, he repeatedly told them there was no need to pay bribes;

their intended development projects would succeed on their own merits. Def. Ex.

230 (Ex. C), at 10-11 (Dec. 3, 2016) (Fallschase annexation is “a done deal. That’s

like a checkbox. . . . I can get that done without even talking to Rick. . . . Because

you’re agreeing to pay more tax . . . you’re not going to have an issue there”); Def.

Ex. 226 (Ex. A), at 3 (Dec. 3, 2016) (annexation: “Oh, that’s done”); Def. Ex. 228

(Ex. B), at 3 (Dec. 3, 2016) (annexation a “no-brainer,” “a done deal”); Gov. Ex. 58

(Ex. J), at 5, 10 (Dec. 6, 2016) (Burnette: “with or without the Government . . . we’ll

get the annex. It’s just a foregone conclusion, because the math works.”; Sweet:

“[what] you’re basically talking about is, is why, when you and I’ve had these

discussions about, ‘Hey you don’t need to pay anybody anything ‘cause you’ve

already built up that collateral . . . .” Burnette: “Collateral you cannot buy, right?”
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Sweet: Eh, you can, you can buy it, but . . . we don’t need to . . .” Burnette: “Yeah,

that’s right . . .”); Gov. Ex. 63 (Ex. K), at 3 (Jan. 9, 2017 Dallas meeting) (“[W]hy

would you pay for the city to make more money?”); Def. Ex. 374 (Ex. E), at 2 (Mar.

13, 2017) (Fallschase: “It’s not like we’re pushing a ball uphill;” it’s “developing a

project that the city has wanted now for, I think, 25, 30 years”). Burnette’s defense

was that when he learned after the fact that the undercover agents had begun sending

payments to Maddox’s girlfriend’s lobbying firm, he panicked and got angry. Gov.

Ex. 63 (Ex. K), at 9 (“Say what?”); see Trial Day 13 Tr. 2633 (Aug. 9, 2021) (Ex.

S) (“I’m having a heart attack . . . I’m worried what they have done is going to cause

us—someone to be revengeful against us”); Trial Day 9 Tr. 1836 (July 23, 2021)

(Ex. P) (Sweet testimony that Burnette was angry and “red in the face”). On the

element of intent, the defense rested in significant part on whether the jury credited

Burnette’s prior, real-time exculpatory statements.

      Respectfully, the Court abused its discretion in allowing the government to

introduce testimony from undercover agent Sweet that Burnette’s repeated attempts

to discourage the agents from bribing Maddox were “false exculpatory” statements.

Sweet offered this improper testimony in direct examination regarding two such

conversations—a December 6, 2016 phone call and an April 15, 2017 text—in which

Burnette urged the agents to act lawfully. In the December 2016 phone call, Burnette

explained that he didn’t want Sweet “to think that you can write a check and get

what you want,” or “that you can effectively pay these people and get a vote.” Gov.
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Ex. 58 (Ex. J), at 2. Burnette emphasized: “[W]e still have to win.” Id. Nodding

to his expertise as an FBI agent, Sweet repeatedly testified that Burnette’s

communication was “what we call a false exculpatory statement” and “a false

statement.” Trial Day 9 Tr. 1663 (July 23, 2021) (Ex. P); see also id. at 1665

(similar); id. at 1671 (“completely a false exculpatory telephone call”). Further,

Sweet speculated over objection that Burnette “was directed to make this call” by

Maddox. Id. at 1670.

         Later in Sweet’s testimony, he disputed the sincerity of another exculpatory

statement by Burnette. In an April 2017 text, Burnette sent a news link about a

successful, unanimous city commission vote on a different redevelopment project,

adding that he “did not pay a $” because “Tallahassee is just about doing the right

thing.” Gov. Ex. 204 (Ex. L). Sweet told the jury that this text, too, consisted merely

of “false exculpatory comments.” Trial Day 9 Tr. 1689 (July 23, 2021) (Ex. P). The

government’s elicitation of this prejudicial opinion testimony on direct then caused

the defense to focus part of its cross-examination on that same opinion. See infra

p. 25.

         Sweet continued the refrain in redirect examination. The prosecutor asked

Sweet what the basis was for his “conclusion” that comments by Maddox were “false

exculpatory.” Trial Day 9 Tr. 1856 (July 23, 2021) (Ex. P). Responding more

broadly about “those type of statements,” Sweet responded that he based his opinion

on “the fact that what he’s telling me isn’t consistent with what I have seen, and --
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in prior statements from him both from him and Mr. Burnette, and also, my

knowledge of the overall investigation, my general knowledge of the overall

investigation.” Id.

      The Court ruled broadly during Sweet’s direct examination that it would

permit questioning regarding “anything that explains what the FBI did and why,

what their understanding of the conversation was.” Trial Day 8 Tr. 1654 (July 22,

2021) (Ex. O). Following this ruling, the defense objected twice to questions that

elicited Sweet’s “false exculpatory” testimony. Trial Day 9 Tr. 1663, 1670 (July 23,

2021) (Ex. P). Each objection was overruled.

             2.       The Court’s admission of Sweet’s opinion testimony was
                      improper and will likely require a new trial on all counts.
      The Court’s admission of a government agent’s opinion testimony on the

truthfulness of the defendant’s exculpatory statements violates a long line of

precedent and greatly prejudiced the defense.

      The Eleventh Circuit has explained the many reasons why opinion testimony

as to the truthfulness of another witness’s statements is improper. First, “[w]hile

Rule 608(a) permits a witness to testify, in the form of opinion or reputation

evidence, that another witness has a general character for truthfulness or

untruthfulness, that rule does not permit a witness to testify that another witness was

truthful or not on a specific occasion.” United States v. Schmitz, 634 F.3d 1247,

1268 (11th Cir. 2011). Such testimony further violates Rule 602, which prohibits

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lay witnesses from testifying to matters for which they lack personal knowledge, and

Rule 401, “because one witness’s opinion that another person has or has not lied

does not make it more or less likely that the person actually lied.” Id. at 1269.

Perhaps most significantly, “were-they-lying questions invade the province of the

jury, as credibility determinations are to be made by the jury, not the testifying

witness.” Id.

      This rule applies with equal force to a witness’s opinions about the credibility

of another witness’s out-of-court statements. In United States v. Hipps, 857 F.

App’x 1002 (11th Cir. 2021) (Mem.) (per curiam), the Eleventh Circuit held, on

plain-error review, that a law enforcement officer’s repeated testimony that he “no

longer believed anything that [the defendant] was saying” during investigative

interviews constituted reversible error. Id. at 1004. Because the agent’s testimony

“served no purpose other than to undermine [the defendant’s] credibility,” it was

inadmissible. Id. at 1008; see also United States v. Sanchez-Lima, 161 F.3d 545,

548 (9th Cir. 1998) (finding reversible error where border patrol officer testified that

he believed his colleague’s out-of-court statements explaining a violent incident with

the defendant).

      The danger that an opining witness may usurp the jury’s prerogative to make

credibility determinations is heightened when the witness is a government agent.

Such testimony improperly suggests to the jury that the agent has reached his opinion

based on knowledge of the entirety of the investigation, which may include evidence
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not before the jury. See, e.g., United States v. Eyster, 948 F.2d 1196, 1207 (11th

Cir. 1991) (finding reversible error where “the prosecutor threw the weight of her

office behind the witness’ testimony and implicitly vouched for the witness by

indicating that information not before the jury supported [the witness’s]

credibility”). Here, Sweet made that implicit suggestion explicit, telling the jury that

he based his credibility opinion on his “general knowledge of the overall

investigation.” Trial Day 9 Tr. 1856 (July 23, 2021) (Ex. P).

      Courts allow opinion testimony on truthfulness of particular statements only

in the limited situation where it is necessary to explain subsequent actions by the

testifying witness. For example, in United States v. Henderson, 409 F.3d 1293 (11th

Cir. 2005), the Eleventh Circuit upheld admission of a detective’s testimony that he

initially believed a defendant’s denial of guilt to explain the detective’s delay in

reporting. Id. at 1299. Even so, the court observed that “such testimony might be

improper if the government had attempted to use this line of questioning as an

indirect way of bolstering [one witness’s] credibility or attacking that of [the

defendant].” Id.

      But here, Sweet’s testimony did not explain his subsequent actions—he was

simply calling Burnette a liar. For example, in response to the government playing

the December 6, 2016 phone call, the government asked Sweet, “when you got this

phone call from the defendant . . . what were you thinking was going on?” Trial Day

9 Tr. 1663 (July 23, 2021) (Ex. P). Sweet responded:
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      I immediately thought what this was what we call a false exculpatory
      statement. “Exculpatory” means to remove from guilt; “false
      exculpatory” means it’s a false statement being made about guilt,
      removing one’s self from guilt. As soon as I heard this phone call and
      I knew Mr. Maddox’s concerns about us being potential FBI agents,
      maybe even having recorded him, I immediately thought to myself,
      okay, this is the false exculpatory statement that they are making to me.
      In case I’m recording this conversation, they want to make it -- he, J.T.,
      wants to make it clear that he and Mr. Maddox are not involved in any
      kind of criminal activity.
Id. After Sweet provided that lengthy explanation that he thought Burnette was lying

and that this phone call was a conniving ploy by Burnette and Maddox, the

government simply moved on. Id. (“Please continue [the tape].”). The testimony

was a naked attempt to discredit Burnette’s real-time exculpatory statement; Sweet

made no effort to explain how his understanding informed his subsequent

investigative actions, and the government did not ask him about those actions during

this exchange.

      Similarly, the government invited Sweet to opine on what Burnette’s

exculpatory texts meant. Id. at 1689. Sweet stated, “I think he’s trying to, again,

make false exculpatory comments to us to basically show that:               Hey, listen,

everything done in Tallahassee is being done above board.”            Id.    Again, the

government made no effort to tie that understanding to Sweet’s investigative

strategy. See id.

      To the contrary, Sweet testified that the supposedly falsely exculpatory phone

call had no effect upon his relationship with Burnette. Id. at 1670 (“I thought I stood


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exactly where I stood before.”). And after Sweet testified that he believed Burnette’s

later text message contained false exculpatory statements, the government merely

asked him to read the remainder of the messages in the text conversation aloud, then

ended its direct examination. Neither the government nor Sweet indicated during

that testimony that the text conversation influenced the agent’s later actions.

      The testimony therefore did “not help to explain the investigation or relay

factual events;” rather, as in Hipps, “it served to discredit [Burnette].” Hipps, 857

F. App’x at 1008. In Hipps, the Eleventh Circuit found similar testimony so contrary

to Eleventh Circuit precedent as to constitute plain error and require vacatur. Id. at

1007-08.    The admission of Sweet’s testimony discrediting Burnette raises a

“substantial question” for appeal. Giancola, 754 F.2d at 901.

      The prejudice to Burnette’s defense was palpable. The government built its

case on Burnette’s out-of-court inculpatory statements to the undercover agents.

See, e.g., Trial Day 15 Tr. 3059-60 (Aug. 11, 2021) (Ex. T). But while the

prosecutors urged the jury to pay attention to “what [Burnette] said to the

undercovers . . . when he didn’t know anyone was watching,” id., they also offered

a government witness who told the jury not to believe Burnette’s contemporaneous,

recorded statements if they undermined the government’s story.            Those very

exculpatory statements were key building blocks of the defense’s case; the defense

featured both the December 2016 call and April 2017 texts, as well as other similar

exculpatory statements, in opening statement. Trial Day 1 Tr. 92, 95-96, 100 (July
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12, 2021) (Ex. M).       The false statements charge, too, hinged on the jury’s

determination of Burnette’s truthfulness—and Sweet’s improper testimony

insinuated to the jury that Burnette had already practiced lying to federal agents in

his previous interactions with Sweet. Sweet’s testimony improperly allowed the

government to put its thumb on the scale on one of the most important issues in the

case.

        To be sure, as this Court noted during the sentencing hearing, the defense

addressed Sweet’s “false exculpatory” testimony in both cross-examination and in

closing. But that only underscores the prejudice to the defense. Faced with the

admission of such prejudicial testimony over its objection, the defense had no choice

but to attempt to undermine the testimony “to offset the prejudicial effect.” Brown

v. Dugger, 831 F.2d 1547, 1553 (11th Cir. 1987); see also Chase Manhattan Bank

v. Rood, 698 F.2d 435, 439 (11th Cir. 1983) (“It would be unfair to place the plaintiff

in the untenable predicament of foregoing any rebuttal . . . after failing in its vigorous

attempts to exclude that evidence.”). As a result, the defense cross-examined Sweet

on his opinions, as well as his lack of evidence for them. E.g., Trial Day 9, Tr. 1795,

1818-19 (July 23, 2021) (Ex. P). And the defense sought to mitigate Sweet’s

testimony by attempting to highlight the unfairness of the government’s approach.

Trial Day 15 Tr. 3178 (Aug. 11, 2021) (Ex. T) (“[T]he only response you get from

Sweet was that . . . anything [Burnette] says that is beneficial is a false exculpatory

statement.”); id. at 3180 (“Mr. Sweets is one of those people that has come into this
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entire endeavor and conversations with my client hearing what he wants to hear.”).

The defense focused so heavily on Sweet’s testimony precisely because it was so

damaging, striking as it did against core evidence on which the defense built its

opening statement.

      This violation of fundamental, well-known principles of evidence presents a

substantial question for appeal. If the issue is decided in Burnette’s favor, it is likely

to require vacatur and a new trial on all counts.

                                    CONCLUSION

      For the foregoing reasons, Burnette respectfully requests that the Court grant

this motion for release pending appeal.




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                        LOCAL RULE 7.1(F) CERTIFICATE

      I, Amy Mason Saharia, counsel for defendant John Thomas Burnette, certify

that this paper contains 6,487 words, which complies with the word limit

requirements set forth in Local Rule 7.1(F).

                                               /s/ Amy Mason Saharia
                                               Amy Mason Saharia




                         CERTIFICATE OF CONFERENCE

      I, Amy Mason Saharia, counsel for defendant John Thomas Burnette, certify

that counsel for defendant conferred with the United States of America regarding the

relief sought in this motion. The United States of America opposes this motion.

                                               /s/ Amy Mason Saharia
                                               Amy Mason Saharia



                         CERTIFICATE OF SERVICE

      I, Amy Mason Saharia, counsel for defendant John Thomas Burnette, certify

that on November 12, 2021, a copy of the foregoing Motion for Continued Release

Pending Appeal, and its accompanying exhibits, was filed with the Clerk and served

on the parties through the Court’s electronic filing system.

                                               /s/ Amy Mason Saharia
                                               Amy Mason Saharia
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